                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF PUERTO RICO




IN RE:                                           CASE NO. 22-02360-EAG
MICHEL OMAR COLLAZO GONZALEZ
                                                     CHAPTER 13

         DEBTOR (S)



                                TRUSTEE'S MOTION TO DISMISS

TO THE HONORABLE COURT:

      NOW COMES José R. Carrión, Chapter 13 Trustee, through the undersigned attorney, and
very respectfully alleges and prays:

      1. The Debtor(s) failed to attend the 341 Meeting scheduled in violation of
Bankruptcy Rule 4002.

      2. There is CAUSE for this case dismissal as the above described default and/or
situation constitutes an unreasonable delay prejudicial to creditors. 11 U.S.C. §1307(c)
(1).

      WHEREFORE the Trustee respectfully prays that this motion be granted and that an
order dismissing this case be entered for cause pursuant to 11 U.S.C. §1307(c) for the
reasons herein set forth.

         30 DAYS NOTICE: Pursuant to General Order No. 05-09, the Debtor(s), his/her/their
   counsel of record, and all those parties in interest who have filed a notice of
appearance in this case, are hereby notified that unless a party in interest files an
objection hereto within 30 days from the date of this notice, the case may be dismissed
or converted   without the need of further notice or hearing.

      NEGATIVE CERTIFICATION PURSUANT TO SECTION 201(B)(4) OF THE SERVICEMEN’S CIVIL RELIEF
ACT OF 2003: The Chapter 13 Trustee declares that according to the attached certification
(s), provided by the Department of Defense Manpower Data Center (DMDC), the Debtor(s) is
(are) not in active duty or under call to active duty as a member(s) of the ARMY, NAVY, or
AIR FORCES of the United States of America; National Guard; the Public Health Service or
the National Oceanic and Atmospheric Administration.

      CERTIFICATE OF SERVICE: The Chapter 13 Trustee herewith certified that a copy of
this motion has been served on this same date, to their respective   address of record to:
Debtor(s), to their counsel and to all those parties in interest who have filed a notice of
appearance by First Class Mail if not an ECFS register user.

      In San Juan, Puerto Rico Friday, December 23, 2022.


                                                       /s/ Jose R. Carrion

                                                       JOSE R. CARRION
                                                       CHAPTER 13 TRUSTEE
                                                       P.O. Box 9023884,
                                                       San Juan, P.R. 00902-3884
                                                       Tel (787) 977-3535 FAX (787)977-3550
Department of Defense Manpower Data Center                                                                                                                           Results as of : Dec-23-2022 08:25:04 AM

                                                                                                                                                                                                  SCRA 5.15




SSN:                          XXX-XX-0435
Birth Date:
Last Name:                    COLLAZO GONZALEZ
First Name:                   MICHEL
Middle Name:                  OMAR
Status As Of:                 Dec-23-2022
Certificate ID:               W0J44FL83V4W6WB

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                   NA                                                   NA                                                     No                                                NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                   NA                                                   NA                                                     No                                                NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                      Service Component

                   NA                                                   NA                                                     No                                                NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. § 3901 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q35) via this URL: https://scra.dmdc.osd.mil/scra/#/faqs. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. § 3921(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC § 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC § 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC § 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
22-02360-EAG                     CERTIFICATE OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was
mailed by first class mail to the parties listed below:
JOSE R. CARRION                                MARIA DE LOS ANGELES GONZALEZ, ESQ.
PO BOX 9023884, OLD SAN JUAN STATION           US POST OFFICE & COURTHOUSE
SAN JUAN, PR 00902                             300 RECINTO SUR ST., SUITE 109
                                               OLD SAN JUAN, PR 00901

PRO SE*                                        DEPARTMENT OF TREASURY
ACTING AS OWN ATTORNEY                         PO BOX 9024140
, PR 00000                                     SAN JUAN, PR 00902


UNEMPLOYMENT INSURANCE                         MICHEL OMAR COLLAZO GONZALEZ
PUERTO RICO DEPT OF LABOR                      4304 DOGWOOD TERRACE
12 FLOOR 505 MUNOZ RIVERA AVE.                 BURTONSVILLE, MD 20866

ASUME                                          ASUME - JESSICA CARATINI RIVERA - 0310525
PO BOX 71442                                   PO BOX 71316
SAN JUAN, PR   00936-8542                      SAN JUAN, PR 00936


ASUME - VIRMARILIS FLORES MELENDEZ - 0564942   BALTIMORE TAXPAYER SVC
PO BOX 71316                                   STATE OFFICE BLDG
SAN JUAN, PR 00936                             301 W PRESTON ST STE 206
                                               BALTIMORE,, MD 21201-2326

BANCO POPULAR DE PUERTO RICO                   COOP A/C SANTA ISABEL
BANKRUPTCY DEPARTMENT                          PO BOX 812
PO BOX 366818                                  SANTA ISABEL, PR 00757-0812
SAN JUAN, PR 00936

DEPARTMENT OF TREASURY                         EASTERN AMERICA INSURANCE COMPANY
BANKRUPTCY DEPT OFF 424B                       PO BOX 9023862
PO BOX 9024140                                 SAN JUAN, PR 00902
SAN JUAN, PR 00902-4140

FIRST BANK OF PR                               INTERNAL REVENUE SERVICES
PO BOX 9146                                    PO BOX 7317
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INTERNAL REVENUE SERVICES                      LUIDMILA ORTIZ MARRERO
PO BOX 7346                                    12 CALLE LUCHETTI
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LYSSETTE A MORALES VIDAL                       VIRMARILIS FLORES MELENDEZ
LYSSETE MORALESLAW OFFICE                      HC 1 BOX 32195
76 CALLE AQUAMARINA URB VILLA BLANCA           JUANA DIAZ, PR 00795
CAGUAS, PR 00725

DATED:   December 23, 2022                       CAROLINE MARTINEZ
                                                 OFFICE OF THE CHAPTER 13 TRUSTEE
